Case 1:19-md-02875-RMB-SAK   Document 2175-1   Filed 10/13/22   Page 1 of 18
                             PageID: 75024




                EXHIBIT 1
Case 1:19-md-02875-RMB-SAK             Document 2175-1         Filed 10/13/22     Page 2 of 18
                                       PageID: 75025




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EMPLOYMENT:

Stephen A. Cozen Professor of Law, 2006-, Professor of Law, 1999-2006, Assistant Professor of
       Law, 1994-99
       Professor of Political Science, 2010-
       Director, Center for East Asian Studies, 2009-2019, Member of CEAS Faculty, 1996-
       Director, Center for the Study of Contemporary China, 2019-, Deputy Director, 2012-
       2019
       Co-Director, Center for Asian Law, 2014-

       Research Interests: Law and politics of China, China and international law, international
       status of Taiwan, cross-Strait and Mainland-Hong Kong relations, comparative law,
       public international law, China’s foreign relations, U.S.-China relations

       Courses:
       Chinese Law; Law, Politics and Society in China; Law and Economic Reform in
       Contemporary China (seminar); Law and the Economy in China (seminar); China and
       International Law (seminar); China and International Human Rights; China and
       International Human Rights Law; International Law; Selected Topics in International
       Law (seminar); Torts;
       International Law and International Relations (Lauder M.B.A.-M.A. Program, University
               of Pennsylvania)
       China in an Era of Transition, Reform and Globalization (Organizational Dynamics
               Program, University of Pennsylvania)
       China and International Law (National University of Singapore)
       Law and the Economy in China (Tel Aviv University, Hebrew University of Jerusalem)
       Government and Politics of the PRC; External Politics of the PRC (Universidad de
               Aveiro, Portugal)
       The Common Law of Civil Obligations; The U.S. Structural Constitution (Waseda
               University, Tokyo)

       Visiting Professor, Universidad de Aveiro (Portugal, short-term, 1999-2002), National
       University of Singapore (summer 2004), Waseda University (summer 2007), Visiting
       Scholar, University of Hong Kong Law School (May 2012), Tel Aviv University (spring
       2014), Hebrew University (spring 2022)
Case 1:19-md-02875-RMB-SAK             Document 2175-1        Filed 10/13/22     Page 3 of 18
                                       PageID: 75026




Director, Asia Program, Foreign Policy Research Institute, 2002-, Senior Fellow, 1999-

Attorney-Adviser, Office of Legal Counsel, United States Department of Justice, 1992-94

Law Clerk to Stephen G. Breyer, United States Court of Appeals for the First Circuit, 1991-92

EDUCATION:

Harvard Law School, J.D. magna cum laude, 1990

Harvard Graduate School of Arts and Sciences, Department of Government, Ph.D. program
      (ABD)

Princeton University, A.B. summa cum laude, Phi Beta Kappa, 1982
       Major: Public and International Affairs

PUBLICATIONS:

Not Quite Déjà Vu All Over Again: CPTPP Accession and Taiwan-China-US Relations in
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      CPTPP (forthcoming 2023)

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                                      PageID: 75027




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Case 1:19-md-02875-RMB-SAK            Document 2175-1       Filed 10/13/22    Page 8 of 18
                                      PageID: 75031




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Of Chinese Walls, Battering Rams, and Building Permits: Five Lessons about International
       Economic Law from Sino-U.S. Trade and Investment Relations, 17 UNIVERSITY OF
       PENNSYLVANIA JOURNAL OF INTERNATIONAL ECONOMIC LAW 513-532 (1996)

Disquiet on the Eastern Front: Liberal Agendas, Domestic Legal Orders, and the Role of
       International Law after the Cold War and amid Resurgent Cultural Identities,
       18 FORDHAM INTERNATIONAL LAW JOURNAL 1725-1741 (1995) (symposium issue on the
       roles of international law in the twenty-first century)

Massacre in Beijing: The Events of 3-4 June and their Aftermath (Ad Hoc Study Group on
      Human Rights in China, and International League for Human Rights, 1989) (co-author)

China’s Foreign Economic Contract Law and Technology Import Regulations, 27 HARVARD
       INTERNATIONAL LAW JOURNAL 275-283 (1986)



                                             [11]
Case 1:19-md-02875-RMB-SAK          Document 2175-1       Filed 10/13/22    Page 13 of 18
                                     PageID: 75036




OTHER WRITINGS AND COMMENTARY:

Op-eds/commentary/essays for newspapers and other media, including The Asian Wall Street
      Journal, The Philadelphia Inquirer, Foreign Policy Research Institute E-notes, China
      Online, Asia Times, Free China Journal, The Asan Forum, Global Times, Nikkei Weekly,
      Taiwan Insight, and The Penn Law Journal; titles include:

      Pelosi’s Taiwan Visit: More Symptom than Cause of the Trouble in US-China Relations
      From WTO to CPTPP: What Makes Consideration of China’s and Taiwan’s Accessions
              Different?
      Beijing’s Olympic Moments, 2008 and 2022: How China and the Meaning of the Games
              Have, and Have Not, Changed
      A Tale of Two Elections: Lessons from the Very Different Trajectories of Democracy in
              Taiwan and Hong Kong in December 2021
      The Growing Dangers of Potential U.S.-China Conflict [over Taiwan]
      Taiwan’s Opportunities and Risks under the Biden Administration
      Purple State China: China’s Preferences in the U.S. 2020 Presidential Elections are…
              Complicated
      When the U.S.-China Rivalry Goes Viral
      The Legacy of Taiwan’s Lee Teng-hui
      China’s Administrative State is Both a Blessing and a Curse in COVID-19
      Tsai’s Rocky Road: Challenges in Tsai’s Second Term
      Taiwan and the WHO in 2020: A Novel Virus and Viral Politics
      Beyond COVID-19: U.S.-China Relations at a Standstill
      Pursuing Politics through Legal Means: U.S. Efforts to Hold China Responsible for
              COVID-19
      Unconventional Candidates and Cross-Strait Relations in Taiwan’s 2020 Presidential
              Campaigns
      The 40th Anniversary of the Taiwan Relations Act
      Red State China: Why China (Sort of) Likes Trump
      The South China Sea Arbitration Decision: China Fought the Law and the Law Won…Or
              Did It?
      Why President Ma Ying-jeou’s Day Trip to Taiping Island was Such a Big Deal
      Taiwan’s 2016 Elections and Cross-Strait Relations
      Mr. Xi Meets Mr. Ma for a Singapore Fling
      Blurring Borders: National, Subnational, and Regional Orders in East Asia—An FPRI
              Conference Report
      Reflections on the Umbrella Movement in Hong Kong
      Two Sessions Work Advances Rule of Law
      Legal Reform Promised in China Though the Party is Still the Law
      China and International Law/Norms: A US Perspective
      China and the World: The View from Salzburg, Then and Now
      Energy, Environment and Security in Asia—An FPRI Conference Report

                                           [12]
Case 1:19-md-02875-RMB-SAK         Document 2175-1        Filed 10/13/22     Page 14 of 18
                                    PageID: 75037




     Contested Terrain: China’s Periphery and International Relations in Asia—An FPRI
             Conference Report
     Taiwan’s 2012 Presidential and Legislative Elections: Winners, Losers, and Implications
     9/11 and U.S.-China Relations (10 Years After)
     Politics and Governance in the People’s Republic of China
     Strait Ahead? China’s Fifth Generation Leaders and Beijing’s Taiwan Policy
     Taiwan: Sovereignty and Participation in International Organizations
     Dragon and (Legal) Eagle: International Law and American Interests in U.S.-China
             Relations beyond the Hu-Obama Summit
     A Tale of Two Summits: Hu Jintao in Washington, Wen Jiabao in New Delhi and U.S.-
             China-India Relations
     The Elephant in the Room: Summitry and China’s Challenging Relations with Great
             Powers in Asia
     Taiwan: Elections at Home, Economic Relations with the Mainland and U.S.-China-
             Taiwan Relations (An FPRI Symposium Report)
     Regional Security in East Asia (An FPRI Conference Report)
     What’s Happened to Democracy in China?: Elections, Law and Reform (An FPRI
             Symposium Report)
     Power in East Asia (An FPRI Conference Report)
     Hu, Obama and U.S.-China Economic and Legal Relations: Structural Issues the Summit
             Will Not Address but Should Not Ignore
     China Policy under Obama
     The U.S. Elections and America’s Role in East Asia: Views from the Region— An FPRI
             Roundtable Report
     China is a Rising Star, but Unusually Weak and Poor
     Elections, Political Transitions and Foreign Policy in East Asia: An FPRI Conference
             Report
     China’s Legal Encounter with the West
     Taiwan in the World Health Assembly: A Victory, With Limits
     Taiwan under President Ma Ying-jeou: A Horse of a Different Color? – Democracy and
             Distrust in Taiwan
     Taiwan under President Ma Ying-jeou: Changing Horses in the Middle of the Strait? –
             Taiwan’s External Relations
     Playing for Keeps (The Beijing 2008 Olympics)
     Kind of Blue?: Implications of Taiwan’s 2008 Elections
     China Rising: Assessing China’s Economic and Military Power—An FPRI Conference
             Report
     Into Africa: China’s Quest for Resources and Influence
     Free Trade Areas: Legal Aspects and the Politics of U.S., PRC and Taiwan Participation
     Free Trade Areas in East Asia: An FPRI Symposium Report
     Constitutional Change and Foreign Policy in East Asia: An FPRI Conference Report
     Taiwan’s Democracy and Lessons from Yet Another Election
     Party Politics and Foreign Policy in East Asia: An FPRI Conference Report

                                           [13]
Case 1:19-md-02875-RMB-SAK            Document 2175-1        Filed 10/13/22     Page 15 of 18
                                       PageID: 75038




       China after Jiang: Two Strengths and Five Unresolved Issues
       The Aftermath of Taiwan’s Presidential Election: An FPRI Symposium Report
       Fifteen Years after Tiananmen: Persistence, Memory and Change in China
       Democracy and Its Limits in Greater China: An FPRI Conference Report
       Asia’s Shifting Strategic Landscape: An FPRI Conference Report
       Illegal? Yes; Lawless? Not So Fast: The U.S., International Law and Iraq
       Sinical Voters?: Elections in Greater China
       Bless and Keep the S.A.R. . . . Far Away from Us: Taiwan’s Hong Kong Phobia, Five
               Years On
       Humanitarian Intervention: The International Law and Morality of Force and Rescue
       Varieties of Sovereignty and Cross-Strait Relations: A Conference Report
       Politics, Law and Resentment on the China Coast
       U.S. Policy toward Taiwan: Sustaining the Status Quo
       The [2000 Presidential] Election, Sausages and Foreign Policy
       Foreign Affairs, Federalism and Well-Meaning-Mischief: The Constitutional Infirmity of
               Massachusetts’s Burma Law
       A Progression of Reform [for Law in China]: Not Revolution but Evolution
       Fifty Years after the Revolution [in China]
       Who’s Afraid of Falun Gong?
       Appeal of Falun Gong Puts Strain on Beijing
       The Taiwan Question
       Chinese Law: A Middle Path for the Middle Kingdom
       Impeachment: It’s Political Not Judicial
       Hong Kong’s Legal Crisis (with Kevin P. Lane)

Commentary/interviews for major television and radio stations, newspapers, and magazines in
     the United States, East Asia and Europe

FELLOWSHIPS AND AWARDS:

University of Pennsylvania China Research and Engagement Fund Grant and Henry R. Luce
       Foundation Grant (project on the Future of United States-China Relations), 2020-22

Global Law Faculty, Peking University Law School, 2018-

Honorary Guest Professor, Renmin University Law School (Beijing), 2014-17

Taipei Economic and Cultural Office research grant, 2008 (for research in Taiwan on cross-Strait
       relations)

Salzburg Seminar: Faculty (China as a Superpower Session), 2012, Senior Fellow, (Asian Law
       Session), 2002, Fellow, (Freeman Foundation Symposia “East Asia-United States: A


                                              [14]
Case 1:19-md-02875-RMB-SAK              Document 2175-1         Filed 10/13/22      Page 16 of 18
                                         PageID: 75039




       Search for Common Values”), 1998, 1999, 2000, Fellow (U.S. Foreign Policy toward
       Asia) 1995

University of Pennsylvania China Research and Engagement Fund Grant (project on the United
       States, China and International Law), 2016

University of Pennsylvania Center for East Asian Studies, U.S. Department of Education
       National Resource Center Course Development Grant (for two linked courses: Public
       International Law, and China and International Law), 1999

University of Pennsylvania Center for East Asian Studies, U.S. Department of Education
       National Resource Center Conference Grant, 1998, 2004

University of Pennsylvania Research Foundation, 1996-97

Dissertation Fellowship, Institute for the Study of World Politics, 1990-91

NCR Foundation Fellowship, Harvard University Council on East Asian Studies (for dissertation
     field research in China), 1990

Kukin Scholar, Harvard Academy for International and Area Studies, Harvard University (for
      research combining regional studies and a social science discipline), 1986-88

Sears Prize, Harvard Law School (awarded to the two students receiving the highest averages in
       work of the second year of law school), 1986

Graduate School of Arts and Sciences Fellow, Harvard University (awarded for academic merit
      to ten students, throughout the Graduate School of Arts and Sciences, who have
      completed departmental Ph.D. qualifying exams), 1986-87

Foreign Language and Area Studies Fellowship, Harvard University (for study at Harvard Law
       School), 1989-90; (for study at the Chinese Language School, Middlebury College), 1985

OTHER EXPERIENCE / PROFESSIONAL ACTIVITIES / SERVICE:

Consultant, expert witness on issues of Chinese law and government policies,
       in litigation in federal and state courts, arbitration proceedings, and proceedings before
       federal agencies, 1996-

Senior Fellow, Foreign Policy Research Institute, 1999-; Director of the Asia Program, 2002-

Member, National Committee on United States-China Relations, 2001-


                                               [15]
Case 1:19-md-02875-RMB-SAK            Document 2175-1       Filed 10/13/22     Page 17 of 18
                                       PageID: 75040




American Society of Comparative Law, Board of Directors, 1996- , Executive Committee, 2020-

Associate Member, International Academy of Comparative Law, 2006-

Board of Directors, American Association for Chinese Studies, 2010-; Vice President 2022-2023

Board of Editors, ORBIS, 2004-

Editorial Advisory Board, JOURNAL OF CONTEMPORARY CHINA, 2007-

Editorial Board, FRONTIERS OF LAW IN CHINA, 2010-

Editorial Board, CHINA (TAIWAN) YEARBOOK OF INTERNATIONAL LAW, 2014-

Editorial Advisory Board, ASIAN JOURNAL OF COMPARATIVE LAW, 2016-

Co-editor, series on Chinese and Comparative Law, Brill / Nijhoff publishers, 2014-2019

Vice Chair, Pacific Rim Interest Group, American Society of International Law, 2003-05, 2012-
      13

Member, U.S. Delegation, U.S.-China Rule of Law Experts Dialogue (track 1.5), 2013, 2015

Consultant, Asia Foundation Rule of Law in China Project on Administrative Law, 2000

Tsinghua University / Temple University Law School Program Conferences on Law Reform,
      2002-2004

Member, Advisory Council, International Council on Intellectual Property Rights (China),
     American International Education Foundation, 2004-2006

Fellow, Institute for Corean-American Studies, 1999-

Board of Advisors and consultant, Russian American Institute for Law and Economics, 2000-
       2004

Council for International Educational Exchange, Fulbright Senior Scholars Awards, peer
      review awards panel (China, Taiwan, Hong Kong), 2000-2002; distinguished chair
      awards panel (law), 2003-2005

University Grants Committee (Hong Kong), Research Grants Council, peer reviewer, 1998-;
Member, Humanities and Social Sciences Panel, 2007-2013; Member, Joint Research Schemes
       Panel, 2021-2023

                                             [16]
Case 1:19-md-02875-RMB-SAK             Document 2175-1         Filed 10/13/22     Page 18 of 18
                                        PageID: 75041




External Review Panel, University of Hong Kong Law Faculty, 2015, 2021 (chair)
       Informal intra-faculty reviews, 2017, 2018

Research Assessment Exercise Panel Member, all law faculties in Hong Kong, 2014

External Examiner, Administrative and Constitutional Law, City University of Hong Kong,
       2005-2015

Academic Advisory Board, Tsinghua University / Temple University School of Law
      Masters of Law Program in Beijing, 1997-

Ad Hoc Study Group on Human Rights in China (report and brief on Tiananmen Incident of
      June, 1989, and its aftermath, presented jointly with the International League for Human
      Rights to the principal human rights subcommission of the United Nations), 1989

Harvard International Law Journal, Articles Editor (including special issue on legal reforms in
      China) 1987

Harvard University, Teaching Fellow, 1985-1992
      Courses: The Chinese Cultural Revolution; Government and Politics of China;
      China After Mao: A New Revolution? (Institute of Politics seminar, Kennedy School of
      Government); International Organizations; Modern Political Ideologies

Peking University, Department of International Politics, Visiting Researcher, 1990, 1991

Chinese University of Hong Kong, Universities Service Centre, Research Affiliate, 1989, 1991

Summer Associate, Paul, Weiss, Rifkind, Wharton & Garrison (New York, 1986),
     Baker & McKenzie (New York, 1984), Townley & Updike (New York, 1983)

Research Assistant, Program in New Jersey Affairs, Woodrow Wilson School, Princeton
       University, summer 1982

Matsushita Electric Industrial Corporation, Osaka, Japan (program for foreign students of
      business and economics), summer 1981

LANGUAGES: Chinese (Mandarin), French




                                              [17]
